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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                )     Chapter 11
                                                      )
THE KRYSTAL COMPANY, et al., 1                        )     Case No. 20-61065 (PWB)
                                                      )
                                                      )
                  Debtors.                            )     (Jointly Administrated)
                                                      )

    DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) APPROVING BIDDING
   PROCEDURES FOR THE SALE OF THE DEBTORS’ ASSETS, (II) SCHEDULING
   HEARINGS AND OBJECTION DEADLINES WITH RESPECT TO THE SALE, (III)
  SCHEDULING BID DEADLINES AND AN AUCTION, (IV) APPROVING THE FORM
 AND MANNER OF NOTICE THEREOF, (V) APPROVING CONTRACT ASSUMPTION
    AND ASSIGNMENT PROCEDURES, AND (VI) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this Debtors’ Motion for Entry of an Order (I) Approving Bidding Procedures for the Sale of the

Debtors’ Assets, (II) Scheduling Hearings and Objection Deadlines with Respect to the Sale, (III)

Scheduling Bid Deadlines and an Auction, (IV) Approving the Form and Manner of Notice

Thereof, (V) Approving Contract Assumption and Assignment Procedures, and (VI) Granting

Related Relief (the “Motion”). In support of this Motion, the Debtors respectfully represent as

follows:




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.


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                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction over these cases and this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A).

Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409(a).

       2.      The bases for the relief requested herein are sections 105(a), 363 and 365 of title 11

of the United States Code (the “Bankruptcy Code”) and Rules 2002 and 6004 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                        BACKGROUND

       3.      On January 19, 2020 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

Northern District of Georgia (the “Court”). The Debtors have continued in possession of their

properties and have continued to operate and manage their business as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request has been made for the

appointment of a trustee or examiner. On February 11, 2020, an official committee of unsecured

creditors (the “Committee”) was established.

       4.      The factual background relating to the Debtors’ commencement of these cases is

set forth in detail in the Declaration of Jonathan M. Tibus in Support of Chapter 11 Petitions and

First Day Pleadings (the “First Day Declaration”) filed on the Petition Date and incorporated

herein by reference. Additional facts specific to this Motion are set forth below.




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A.     The Debtors’ Assets

       5.        The Debtors operate the well-known restaurant brand “Krystal,” consisting of 186

locations across nine states and are also the franchisor for 113 franchised locations (collectively,

the “Assets”).

       6.        Over the past year, the Debtors have experienced declining financial performance

due to, among other things, declines in restaurant sales. The Debtors have closed underperforming

restaurants and implemented cost reduction measures to help mitigate the effect of these declines

and improve their financial position and liquidity but have not been able to overcome these trends.

       7.        Despite their continuing efforts to improve performance and to build sales, the

Debtors have been unable to comply with their obligations under their credit agreement with Wells

Fargo Bank, National Association and certain other prepetition lenders (the “Prepetition Lenders”).

       8.        In December 2019, the Debtors engaged a financial advisor and investment banker,

Piper Sandler & Co. (“PSC”), a nationally recognized investment banking firm with extensive

expertise in marketing and selling distressed businesses, including distressed restaurant chains, to

assist the Debtors in evaluating various strategic alternatives available to the Debtors.     After

evaluating the options, and the continued pressures of the business climate, the Debtors have

commenced a process to pursue the sale of the Assets (the “Sale”) and determined in their business

judgment that a Sale may offer the best recovery for all of their stakeholders.

B.     Sale Process

       9.        In December 2019, PSC began a marketing process related to the Assets. In

consultation with the Debtors, PSC developed a list of parties whom they believe may be interested




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in, and whom PSC reasonably believes would have the financial resources to consummate a Sale.

The list of parties includes both strategic and financial investors.

       10.     The Bidding Procedures (as defined below) are designed to—and the Debtors

believe the Bidding Procedures will operate to—maximize the likelihood of a competitive bidding

process.

C.     Stalking Horse Purchaser

       11.     To further maximize the competitiveness of any bidding process, the Debtors also

seek authority, but not direction, to select, after consultation with the Consultation Parties (as

defined in the Bidding Procedures), one or more parties to serve as a Stalking Horse Purchaser (a

“Stalking Horse Purchaser”) on or before April 1, 2020.

       12.     In the event that the Debtors enter into any Stalking Horse Agreement (as defined

in the Bidding Procedures) that the Debtors determine, after consultation with the Consultation

Parties (as defined in the Bidding Procedures), is in the best interests of the Debtors and their

estates, the Debtors will file with the Court, and upload to the Data Room (as defined in the Bidding

Procedures), a notice that shall include the following: (a) the identification of the Stalking Horse

Purchaser; (b) a copy of the Stalking Horse Agreement; (c) the purchase price provided for in the

Stalking Horse Agreement; (d) the amount of the deposit paid by the Stalking Horses Purchaser;

and (e) the amount of any Break-Up Fee or any Expense Reimbursement (as defined in the Bidding

Procedures). The Debtors will seek expedited approval of the Stalking Horse Agreement and any

Break-Up Fee or Expense Reimbursement provided for therein.




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D.      Proposed Bidding Procedures

        13.    By this Motion, the Debtors request approval of the Bidding Procedures (the

“Bidding Procedures”) attached as Exhibit 1 to the proposed order attached hereto as Exhibit A

(the “Bidding Procedures Order”). The proposed Bidding Procedures are designed to permit a fair,

efficient, competitive, and value-maximizing auction process for the Debtors’ assets (the

“Assets”).

        14.    The Debtors believe the Bidding Procedures will provide them sufficient time to

conduct a robust marketing process with outreach to both strategic and financial parties.

Furthermore, the Debtors believe that potential bidders will have ample notice and time to conduct

thorough due diligence to submit binding bids in advance of the bid deadline. The Bidding

Procedures are designed to encourage all prospective bidders to put their best bid forward, bring

finality to the Debtors’ chapter 11 process, and create a path towards the highest or otherwise best

available recoveries to the Debtors’ stakeholders.

        15.    Because the Bidding Procedures are attached as Exhibit 1 to the Bidding

Procedures Order (which is attached hereto as Exhibit A), they are not restated fully herein.

Generally, however, the Bidding Procedures establish, among other things: 2

        •      the Debtors will serve the Bidding Procedures Order (setting forth the schedule for
               the sale process), Bidding Procedures, and Sale Notice (as defined below) on all
               relevant notice parties as soon as practicable after entry of the Bidding Procedures
               Order;

        •      the availability of, and access to, due diligence by potential bidders;

        •      the deadlines and requirements for submitting competing bids and the method and
               criteria by which such competing bids are deemed to be “Qualifying Bids”
2
     The following summary is provided for convenience purposes only. To the extent any of the
     terms described below are inconsistent with the Bidding Procedures, the Bidding Procedures
     control in all respects.

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                sufficient to trigger the Auction (as defined in the Bidding Procedures) and
                participate in the Auction;

       •        the manner in which Qualifying Bids will be evaluated by the Debtors to determine
                the starting bid for the Auction;

       •        the conditions for having the Auction and procedures for conducting the Auction,
                if any; and

       •        various other matters relating to the sale process generally, including the
                designation of the back-up bid, return of any good faith deposits, and certain
                reservations of rights.

       16.      Importantly, the Bidding Procedures recognize and comply with the Debtors’

fiduciary obligations to maximize sale value and do not impair the Debtors’ ability to consider all

strategic alternatives made at or prior to the Auction. The Bidding Procedures preserve the

Debtors’ right, after consulting with the Consultation Parties, to modify the Bidding Procedures as

necessary or appropriate to maximize value for the Debtors’ estates.

E.     Proposed Sale Schedule

       17.      The Debtors are seeking approval of the Bidding Procedures and the Sale Schedule

(as defined below) to establish a clear and open process for the solicitation, receipt, and evaluation

of third-party bids on a timeline that will allow the Debtors to consummate a Sale. A defined path

toward effectuating the Sale will drive the sale process in an expeditious and efficient manner and

is designed to encourage all prospective bidders to put their best bids forward at the outset of these

chapter 11 cases to provide the highest or otherwise best available recoveries to the Debtors’

stakeholders.

       18.      The Debtors have already initiated their marketing efforts and the Debtors will use

the time following entry of the Bidding Procedures Order to continue the process to actively market

their Assets. Subject to the Court’s availability, the key dates and deadlines the Debtors seek to


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establish pursuant to this Bidding Procedures Order (the “Sale Schedule”) are as follows, provided

that the Debtors may amend the Sale Schedule without further order of the Court so long as such

changes to the Sale Schedule (i) comply with any milestones contained in the DIP Order and/or

Cash Collateral Order or (ii) are made with the consent of the DIP Agent and First Lien Prepetition

Agent:

         (i)     Bid Deadline: May 4, 2020 at 5:00 p.m. (prevailing Eastern Time) is the
                 deadline by which all Qualifying Bids must be actually received by the parties
                 specified in the Bidding Procedures (the “Bid Deadline”).

         (ii)    Auction: The Auction, if necessary, will be held on May 7, 2020 at 10:00 a.m.
                 (prevailing Eastern Time) at the offices of counsel to the Debtors, King &
                 Spalding LLP, 1180 Peachtree Street, Atlanta GA 30309

         (iii)   Sale Objection Deadline: The deadline by which all objections to the Sale or the
                 assumption and assignment of any executory contracts must be filed with the Court
                 and served so as to be actually received by the appropriate notice parties (the “Sale
                 Objection Deadline”), is May 12, 2020 at 5:00 p.m. (prevailing Eastern Time).

         (iv)    Sale Hearing: The hearing approving the Sale to the Successful Bidder (as defined
                 in the Bidding Procedures) shall take place before the Court on May 14, 2020 at
                 10:00 a.m. (prevailing Eastern Time).

F.       Notice of Auction

         19.     As soon as reasonably practicable, but no later than three (3) business days after

entry of the Bidding Procedures Order (the “Mailing Date”), the Debtors (or their agents) will

cause the notice substantially in the form attached as Exhibit 2 to the Bidding Procedures Order

(the “Sale Notice”), to be served on the following parties or their respective counsel, if known:

(a) the Office of the United States Trustee for the Northern District of Georgia; (b) the counsel to

the official committee of unsecured creditors; (c) counsel to the First Lien Prepetition Agent; (d)

all parties who have expressed a written interest in some or all of the Debtors’ Assets; (e) all parties

who are known or reasonably believed, after reasonable inquiry, to have asserted any lien,


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encumbrance, claim or other interest in the Debtors’ Assets; (f) the Internal Revenue Service; (g)

the Georgia Department of Revenue; (h) the Attorney General for the State of Georgia; (i) the

United States Attorney for the Northern District of Georgia; (j) the state attorneys general for states

in which the Debtors conduct business; (k) the Pension Benefit Guaranty Corporation; and (l) any

party that has requested notice pursuant to Bankruptcy Rule 2002.

       20.     In addition, on the Mailing Date, or as soon thereafter as practicable, the Debtors

(or their agents) will serve by first-class mail, postage prepaid, the Sale Notice, upon all other

known creditors of the Debtors and all counterparties to the Debtors’ executory contracts and

unexpired leases.

       21.     The Debtors submit that the Sale Notice is reasonably calculated to provide all

interested parties with timely and proper notice of the proposed Sale, including the date, time, and

place of the Auction (if one is held) and the Bidding Procedures and the dates and deadlines related

thereto. Accordingly, the Debtors request that the form and manner of the Sale Notice be approved

and that the Court determine that no other or further notice of the Auction is required.

G.     Summary of the Assumption and Assignment Procedures

       22.     The Debtors propose the Assumption and Assignment Procedures set forth below

for notifying the counterparties to executory contracts and unexpired leases (each a “Contract

Counterparty” and collectively, the “Contract Counterparties”) of proposed cure amounts in the

event the Debtors decide to assume and assign such contracts or leases in connection with the Sale.

       i.      Notice of Assumption and Assignment.

       23.     In accordance with the Bidding Procedures Order, on or before March 31, 2020

(such date, the “Assumption and Assignment Service Date”), the Debtors shall file with the Court


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and serve via first class mail, electronic mail, or overnight delivery the Cure Notice annexed as

Exhibit 3 to the Bidding Procedures Order on all Contract Counterparties and, include as

Exhibit A to the Cure Notice, a list (the “Assigned Contracts Schedule”) that specifies: (a) each

of the Debtors’ executory contracts and unexpired leases that may be assumed and assigned in

connection with the Sale (i.e., the Assigned Contracts), including the name of the Contract

Counterparty to each such contract; (b) the proposed amount necessary, if any, to cure all monetary

defaults, if any, under each Assigned Contract (the “Cure Costs”); and (c) the deadline by which

any Contract Counterparty may file an objection to the proposed assumption, assignment, cure,

and/or adequate assurance and the procedures relating thereto. The Debtors shall serve, via first

class mail, a customized version of the Cure Notice, without the Assigned Contracts Schedule,

which will include: (w) instructions (the “KCC Instructions”) regarding how to view the Assigned

Contracts Schedule on the Debtors’ case website, http://www.kccllc.net/krystal (the “Case

Website”); (x) information necessary and appropriate to provide notice of the relevant proposed

assumption and assignment of Assigned Contracts and rights thereunder; (y) Cure Costs, if any;

and (z) the procedures for objecting thereto ((x)-(z) collectively, the “Necessary Notice

Information”), on each Contract Counterparty to the Assigned Contracts. The Debtors shall serve

on all parties that requested notice pursuant to Bankruptcy Rule 2002 a modified version of the

Cure Notice that contains the KCC Instructions and Necessary Notice Information. The Debtors

believe the service as set forth herein shall be deemed proper, due, timely, good, and sufficient

notice and no other or further notice will be necessary.

       24.     A Contract Counterparty listed on the Assigned Contract Schedule may file an

objection (an “Assigned Contract Objection”) to the proposed assumption and assignment of the


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applicable Assigned Contract or the proposed Cure Costs, if any.            All Assigned Contract

Objections must: (i) be in writing; (ii) comply with the applicable provisions of the Bankruptcy

Rules, the Complex Case Procedures, the Bankruptcy Local Rules for the Northern District of

Georgia, and any order governing the administration of these chapter 11 cases; (iii) state with

specificity the nature of the objection and, if the objection pertains to the proposed Cure Costs,

state the cure amount alleged to be owed to the objecting Contract Counterparty, together with any

applicable and appropriate documentation in support thereof; and (iv) be filed with the Court and

served and actually received no later than the April 20, 2020 (the “Cure Objection Deadline”).

       25.     If a Contract Counterparty files an Assigned Contract Objection in a manner that is

consistent with the requirements set forth above, and the Stalking Horse Bidder (if any) or other

Successful Bidder (as defined in the Bidding Procedures) has designated in writing that it wishes

to take assignment of such Assigned Contract, and the parties are unable to consensually resolve

the dispute prior to the Sale Hearing (as defined below), such objection will be resolved at the Sale

Hearing or such later date as determined by the Court. To the extent that any Assigned Contract

Objection cannot be resolved by the parties, such Assigned Contract shall be assumed and assigned

only upon satisfactory resolution of the Assigned Contract Objection, to be determined in the

Stalking Horse Bidder (if any) or other Successful Bidder’s discretion. To the extent an Assigned

Contract Objection remains unresolved, the Assigned Contract may be conditionally assumed and

assigned, subject to the consent of the Stalking Horse Bidder (if any) or other Successful Bidder,

pending a resolution of the Assigned Contract Objection after notice and a hearing. If an Assigned

Contract Objection is not satisfactorily resolved, the Stalking Horse Bidder (if any) or other

Successful Bidder may determine that such Assigned Contract should be rejected and not assigned,


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in which case the Stalking Horse Bidder (if any) or other Successful Bidder will not be responsible

for any Cure Costs in respect of such contract.

       ii.     Supplemental Cure Notice.

       26.     If (a) the Debtors discover contracts inadvertently omitted from the Assigned

Contracts Schedule, (b) the Successful Bidder identifies other executory contracts or unexpired

leases that it desires to assume and assign in connection with the Sale, or (c) the previously stated

Cure Cost associated with any assigned Contract requires modification, the Debtors may, at any

time after the Assumption and Assignment Service Date: (i) supplement the Assigned Contracts

Schedule with the previously omitted Assigned Contracts; (ii) remove any Assigned Contracts

from the list of executory contracts and unexpired leases ultimately selected as Assigned Contracts

that the Successful Bidder proposes be assumed and assigned to it in connection with the Sale or

add to such list; and/or (iii) modify the previously stated Cure Costs associated with any Assigned

Contract.

       27.     In the event that the Debtors exercise any of the rights reserved above, the Debtors

shall promptly serve a supplemental notice of assumption and assignment by electronic

transmission, hand delivery, or overnight mail on the Contract Counterparty, and its counsel, if

known, at the last known address available to the Debtors (a “Supplemental Cure Notice”). Each

Supplemental Cure Notice shall include the same information with respect to listed Assigned

Contracts as would have been included in the Notice of Assumption and Assignment (a

“Supplemental Assigned Contracts Schedule”).

       28.     Any Contract Counterparty that receives a Supplemental Cure Notice may file an

objection (a “Supplemental Assigned Contract Objection”) to the proposed assumption and


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assignment of the applicable Assigned Contract or the proposed Cure Costs, if any.            All

Supplemental Assigned Contract Objections must: (a) state, with specificity, the legal and factual

basis for the objection as well as what Cure Costs are required, if any; (b) include appropriate

documentation in support thereof; and (c) be filed on the date that is the later of (i) the Sale

Objection Deadline and (ii) 14 days following the date of service of such Supplemental Cure

Notice, which date will be set forth in the Supplemental Cure Notice (the “Supplemental Assigned

Contract Objection Deadline”).

       29.     If a Contract Counterparty files a Supplemental Assigned Contract Objection in a

manner that is consistent with the requirements set forth above, and the parties are unable to

consensually resolve the dispute, the Debtors shall seek an expedited hearing before the Court (a

“Supplemental Assigned Contract Hearing”) to determine the Cure Costs, if any, and approve the

assumption of the relevant Assigned Contracts. If there is no such objection, then the Debtors

shall obtain an order of this Court fixing the Cure Costs and approving the assumption and

assignment of any Assigned Contract listed on a Supplemental Cure Notice.

       iii.    Supplemental Cure Notice.

       30.     If a Contract Counterparty does not file and serve an Assigned Contract Objection

or Supplemental Assigned Contract Objection in a manner that is consistent with the requirements

set forth above, and absent a subsequent order of the Court establishing an alternative Cure Cost,

(a) the Cure Costs, if any, set forth in the Cure Notice (or Supplemental Cure Notice) shall be

controlling, notwithstanding anything to the contrary in any Assigned Contract or any other

document, and (b) the Contract Counterparty will be deemed to have consented to the assumption

and assignment of the Assigned Contract and the Cure Costs, if any, and will be forever barred


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from objecting to the assumption and assignment of such Assigned Contract and rights thereunder,

including the Cure Costs, if any, and from asserting any other claims related to such Assigned

Contract against the Debtors or the Successful Bidder, or the property of any of them.

       31.     Any objections to the Successful Bidder’s proposed form of adequate assurance of

future performance must be filed by the later of the Sale Objection Deadline or Supplemental

Assigned Contract Objection Deadline, as applicable, and such objections will be resolved at the

Sale Hearing or Supplemental Assigned Contract Hearing, as applicable. The Debtors may, with

the consent of the Successful Bidder, adjourn the resolution of any such objection to a later hearing.

       32.     For the avoidance of doubt, the inclusion of an Assigned Contract on the Assigned

Contracts Schedule or Supplemental Assigned Contracts Schedule shall not obligate the Debtors

to assume any such Assigned Contract or obligate any Stalking Horse Bidder or a Successful

Bidder to take assignment of any such Assigned Contract. Any Stalking Horse Bidder or other

Successful Bidder shall determine whether to take assignment of any Assigned Contracts pursuant

to the terms of the Purchase Agreement (as defined in the Bidding Procedures).

       33.     The Debtors also request that the Sale Order (as defined below) include approval

of certain procedures and designation rights of the Successful Bidder to the extent provided for in

the Purchase Agreement.

                                     RELIEF REQUESTED

       34.     By this Motion, the Debtors seek entry of two orders: (i) following an initial hearing

(the “Bidding Procedures Hearing”), an order in the form attached hereto as Exhibit A (a)

authorizing and scheduling the Auction at which the Debtors will solicit the highest or best bid for

the Sale; (b) approving the bidding procedures related to the conduct of the Auction; (c) approving


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the form and manner of the notices of (1) the proposed sale of the Debtors’ Assets, the Auction

and the Sale Hearing and (2) the proposed assumption and assignment of the Debtors’ executory

contracts and unexpired leases and proposed cure costs related thereto; and (ii) following a final

hearing (the “Sale Hearing”), an order (the “Sale Order”) approving the sale by the Debtors of the

Debtors’ Assets to the bidder submitting the highest or best bid for the Debtors’ Assets in

connection with the sale and bidding process.

                              BASIS FOR RELIEF REQUESTED

A.      The Assets May Be Sold Free and Clear of Liens, Claims, Interests and
        Encumbrances under Bankruptcy Code Section 363(f).

        35.    Bankruptcy Code section 363(f) authorizes a debtor to sell assets free and clear of

all liens, claims, interests and encumbrances provided that one of the following conditions is met:

               (a) applicable non-bankruptcy law permits sale of such property free and clear of
                   such interests;

               (b) such entity consents;

               (c) such interest is a lien and the price at which such property is to be sold is greater
                   than the aggregate value of all liens on such property;

               (d) such interest is in bona fide dispute; or

               (e) such entity could be compelled, in a legal or equitable proceeding, to accept a
                   money satisfaction of such interest.

     11 U.S.C. § 363(f)(1)–(5).

        36.    As section 363(f) of the Bankruptcy Code is stated in the disjunctive, when

proceeding pursuant to section 363(b), it is only necessary for a debtor to meet one of the five

conditions of section 363(f). See In re Flyboy Aviation Props., LLC, 501 B.R. 828, 834 (Bankr.

N.D. Ga. 2013); Mich. Employment Sec. Comm’n v. Wolverine Radio Co. (In re Wolverine Radio

Co.), 930 F.2d 1132, 1147 n.24 (6th Cir. 1991) (stating that Bankruptcy Code section 363(f)

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written in disjunctive; holding that court may approve sale “free and clear” provided at least one

of the subsections of section 363(f) is met); In re Zeigler, 320 B.R. 362, 381 (Bankr. N.D.Ill.

2005); In re Dundee Equity Corp., No. 89-B-10233, 1992 Bankr. LEXIS 436, at *12 (Bankr.

S.D.N.Y. Mar. 6, 1992) (“Section 363(f) is in the disjunctive, such that the sale free of the interest

concerned may occur if any one of the conditions of §363(f) have been met.”); In re Bygaph, Inc.,

56 B.R. 596, 606 n. 8 (Bankr. S.D.N.Y. 1986) (same).

       37.     The Debtors submit that each lien (other than liens that will be assumed liabilities

or permitted encumbrance under the Purchase Agreement) satisfies at least one of the five

conditions of Bankruptcy Code section 363(f). If an entity with liens on the Assets does not

consent to the proposed sale of such Assets, the Debtors intend to demonstrate at the Sale Hearing

their satisfaction of the requirements of Bankruptcy Code section 363(f). Alternatively, the

Debtors may sell the Assets free and clear of any other interests under section 363(f)(5) because

the liens on any Assets sold will attach to the cash proceeds of such Sale in their order of priority

and entities holding such interests could be compelled to accept money satisfaction in legal or

equitable proceedings. Accordingly, pursuant to Bankruptcy Code section 363, the Debtors may

sell the Assets free and clear of all claims, liens and encumbrances.

       38.     Moreover, the Debtors have sent or will send the Sale Notice to any purported

lienholders. If such lienholders do not object to the Sale, then their consent should reasonably be

presumed. Accordingly, the Debtors request that unless a party asserting a lien on any of the

Assets (other than with respect to assumed liabilities and permitted encumbrances under the

Purchase Agreement) timely objects to this Motion, such party shall be deemed to have consented

to any Sale approved at the Sale Hearing.


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        39.     It is also appropriate to sell the Assets free and clear of successor liability relating

to the Debtors’ businesses. Such limitations on successor liability ensure that the Successful Bidder

is protected from any claims or lawsuits premised on the theory that the Successful Bidder is a

successor in interest to one or more of the Debtors. Courts have consistently held that a buyer of

a debtor’s assets pursuant to a section 363 sale takes free and clear from successor liability relating

to the debtor’s business. See e.g., In re Tran World Airlines, Inc., 322 F.3d 283, 288–90 (3d Cir.

2003) (sale of assets pursuant to section 363(f) barred successor liability claims for employment

discrimination and rights under travel voucher program); In re Leckie Smokeless Coal Co., 99 F.3d

573, 585 (4th Cir. 1996) (affirming the sale of debtors’ assets free and clear of certain taxes); In re

Dixie Pellets LLC, 2009 WL 8189341 (Bankr. N.D. Ala. Sept. 13, 2009) (approving sale of

substantially all of Debtor’s assets free and clear of all liens, including but not limited to “all rights

or claims based on any theory or principle of successor liability.”); In re Ormet, 2014 WL 3542133

(Bankr. D. Del. July 17, 2014) (permitting a sale free and clear of successor liability claims relating

to an under-funded pension plan); In re Insilco Techs., Inc., 351 B.R. 313, 322 (Bankr. D. Del.

2006) (stating that a 363 sale permits a buyer to take ownership of property without concern that

a creditor will file suit based on a successor liability theory); see also In re General Motors Corp.,

407 B.R. 463, 505-06 (Bankr. S.D.N.Y. 2009) (holding that “[T]he law in this Circuit and District

is clear; the Court will permit GM’s assets to pass to the purchaser free and clear of successor

liability claims, and in that connection, will issue the requested findings and associated

injunction”); In re Chrysler LLC, 405 B.R. 84, 111 (Bankr. S.D.N.Y. 2009) (“[I]n personam

claims, including any potential state successor or transferee liability claims against New Chrysler,




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as well as in rem interests, are encompassed by section 363(f) and are therefore extinguished by

the Sale Transaction”).

       40.     The purpose of a sale order purporting to authorize the transfer of assets free and

clear of all claims, liens and encumbrances would be defeated if claimants could thereafter use the

transfer as a basis to assert claims against a purchaser arising from a seller’s pre-sale conduct.

Moreover, without such assurances, a buyer may not agree to purchase the Assets and potential

bidders may choose not to participate in the Auction or, if they did, would submit reduced bid

amounts. To that end, the Successful Bidder should not be liable under any theory of successor

liability relating to the Debtors’ businesses, but should hold the Assets free and clear.

B.     A Successful Bidder Should be Entitled to the Protection of Bankruptcy Code 363(m).

       41.     Pursuant to Bankruptcy Code section 363(m), a good faith purchaser is one who

purchases assets for value, in good faith, and without notice of adverse claims. See Miami Ctr.

Ltd. P’ship v. Bank of New York, 838 F.2d 1547, 1554 (11th Cir. 1988); In re Mark Bell Furniture

Warehouse, Inc., 992 F.2d 7, 9 (1st Cir. 1993); In re Willemain v. Kivitz, 764 F.2d 1019, 1023 (4th

Cir. 1985); In re Congoleum Corp., Case No. 03-51524, 2007 WL 1428477 at *2 (Bankr. D.N.J.

May 11, 2007); Abbotts Dairies of Penn., Inc., 788 F.2d 143, 147 (3d Cir. 1986).

       42.     The Purchase Agreement for the Successful Bidder will be negotiated at arm’s-

length, with each of the parties represented by its own advisors and counsel. Accordingly, the

Debtors request that the order approving the Sale include a provision that the Successful Bidder

for the relevant Assets is a “good faith” purchaser within the meaning of Bankruptcy Code section

363(m). The Debtors maintain that providing the Successful Bidder with such protection will

ensure that the maximum price will be received by the Debtors for the Assets.



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C.       The Form, Manner and Extent of Notice of the Motion and the Proposed Sale are
         Appropriate and Adequate Under the Circumstances.

         43.    The Debtors will serve the Sale Notice and the Cure Notice in accordance with the

Bidding Procedures Order. The notice of the proposed Sale to be provided by the Debtors as set

forth herein sufficiently describes the terms and conditions of the proposed Sale.

         44.    Several sections of the Bankruptcy Code and Bankruptcy Rules dictate the

sufficiency of notice and adequacy of service. As discussed below, the content and manner of

service of this Motion and the related notices satisfy all such requirements:

     •   Sale Notice – Bankruptcy Code section 363 provides that a trustee may sell property “after
         notice and hearing.” Under Section 102(1) of the Bankruptcy Code, the phrase “after notice
         and hearing” means “notice as is appropriate in the particular circumstances, and such
         opportunity for a hearing as is appropriate in the particular circumstances.” 11 U.S.C. §
         102(1)(A). As set forth above, creditors have been provided notice of the salient details
         regarding this motion and the Sale Hearing. Accordingly, notice is sufficient under
         Bankruptcy Code section 363.

     •   Bankruptcy Rule 2002 – Bankruptcy Rule 2002 requires twenty-one (21) days’ notice of
         the proposed sale of property other than in the ordinary course of business. In addition,
         Bankruptcy Rule 2002 provides that notice of a sale shall “include the time and place of
         any public sale, the terms and conditions of any private sale and the time fixed for filing
         objections.” Fed. R. Bankr. P. 2002. As set forth above, the notice of this motion that has
         been and will be provided by the Debtors satisfies each of these requirements.

     •   Bankruptcy Rules 6004 and 6006 – Bankruptcy Rule 6004 requires that notice of sales of
         property out of the ordinary course of business complies with Bankruptcy Rule 2002. As
         set forth above, the Debtors have complied with Bankruptcy Rule 2002. Bankruptcy
         Rule 6006 requires notice of a motion to assume and assign an executory contract or
         unexpired lease to be served on the counterparty to such contract or lease, as well as on
         other parties in interest as the Court may direct. The Sale Notice and the Cure Notice have
         been or will be served on counterparties to the Assigned Contracts, thereby satisfying this
         requirement.

     •   Procedural Due Process – The notices of this motion that are being provided as described
         herein, including the notice being provided by publication as set forth above, are
         “reasonably calculated” to apprise interested parties of the pendency of the matter and to
         afford them an opportunity to object. See Mullane v. Central Hanover Bank & Trust Co.,
         339 U.S. 306 (1950). Parties in interest have been and should be found to have been

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         afforded adequate notice of this motion, the Sale, the Bidding Procedures and the other
         relief requested herein.

         45.    The Debtors submit that the notice they have provided and intend to provide as

outlined above with respect to the proposed Sale, the Bidding Procedures, and the Cure Costs, as

applicable, is reasonable and appropriate and constitutes good and adequate notice of the proposed

Sale and the procedures and proceedings related thereto and therefore should be approved by this

Court.

D.       The Assumption and Assignment Procedures Should Be Approved.

         46.    To facilitate and effectuate the Sale, the Debtors are seeking approval of the

Assumption and Assignment Procedures.         The Assumption and Assignment Procedures are

reasonable and necessary to properly notify parties of potential assumptions and/or assignments

and provide the Contract Counterparties with sufficient time to determine the accuracy of the

proposed cure amount and whether the Debtors have provided adequate assurance of future

performance.

         47.    The Debtors believe that they can and will demonstrate at the Sale Hearing that the

requirements for assumption and assignment of the Assigned Contracts to the Successful Bidder

will be satisfied. As required by the Bidding Procedures, the Debtors will evaluate the financial

wherewithal of potential bidders before designating such party a Qualifying Bidder (as defined in

the Bidding Procedures) or Successful Bidder (e.g., financial credibility, willingness, and ability

of the interested party to perform under the Assigned Contracts), including as it relates to such

Qualifying Bidder’s willingness, and ability to perform under the Assigned Contracts assigned to

the Successful Bidder. Further, the Assumption and Assignment Procedures provide the Court

and other interested parties ample opportunity to evaluate and, if necessary, challenge the ability

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of the Successful Bidder to provide adequate assurance of future performance and object to the

assumption of the Assigned Contracts or proposed cure amounts. The Court therefore will have a

sufficient basis to authorize the Debtors to reject or assume and assign the Assigned Contracts as

set forth in the definitive agreement of the Successful Bidder.

       48.     Accordingly, the Debtors submit that the Assumption and Assignment Procedures

should be approved as reasonable and necessary measures to adequately notify parties in interest

and conducting the proposed sale process in a fair, efficient, and proper manner.

E.     The Stay of the Sale Order Should be Waived.

       49.     Pursuant to Bankruptcy Rules 6004(h) and 6006(d), an order authorizing the sale

of property or the assignment of an unexpired lease is stayed for fourteen (14) days after the entry

of an order unless the Court orders otherwise.

       50.     The Debtors request that this Court order that such stay is not applicable with

respect to the sale of the Debtors’ Assets and assignment and assumption of the related executory

contracts and/or unexpired leases. To require the Debtors to effectively be liable under the

applicable executory contracts and/or unexpired leases for an extra fourteen (14) days and to delay

the closing will burden the estates and require unnecessary expenditures of the Debtors’ limited

resources. The Debtors note that similar requests to waive the stay imposed under Bankruptcy

Rules 6004(h) and 6006(d) are routinely granted in this district and others. See In re Beaulieu

Group, LLC, Case No. 17-41677 (MGD) (Bankr. N.D. Ga. Oct. 31, 2017); In re Astroturf, LLC,

Case No. 16-41504 (PWB) (Bankr. N.D. Ga. Aug. 12, 2016); In re Southern Regional Health

Systems, Inc., Case No. 15-64266 (WLH) (Bankr. N.D. Ga. Aug. 26, 2015); see also In re The

Colonial Bancgroup, Inc., 2011 WL 6014076 (Bankr. M.D. Ala. Oct. 13, 2011); In re Moore-



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Handley, Inc., Case No. 09-04198 (TBB-11) (Bankr. N.D. Ala. Oct. 2, 2009); In re the Great

Atlantic & Pacific Tea Company, Inc., Case No. 15-23007 (SCC) (Bankr. S.D.N.Y. Aug. 11,

2015); In re Delia’s, Inc., Case No. 14-23678 (RDD) (Bankr. S.D.N.Y. Feb. 10, 2015); see, e.g.,

In re Midway Games Inc., Case No. 09-10465 (KG) (Bankr. D. Del. June 3, 2009); In re Nortel

Networks Inc., Case No. 09-10138 (Bankr. D. Del. Feb. 27, 2009).

                                                Notice

       51.     The Debtors will provide notice of this Motion to: (a) the Office of the United States

Trustee for the Northern District of Georgia; (b) the Debtors’ thirty (30) largest unsecured

creditors; (c) the Committee; (d) counsel to the First Lien Prepetition Agent; (e) all parties who

have expressed a written interest in some or all of the Debtors’ Assets; (f) all parties who are

known or reasonably believed, after reasonable inquiry, to have asserted any lien, encumbrance,

claim or other interest in the Debtors’ Assets; (g) the Internal Revenue Service; (h) the Georgia

Department of Revenue; (i) the Attorney General for the State of Georgia; (j) the United States

Attorney for the Northern District of Georgia; (k) the state attorneys general for states in which

the Debtors conduct business; (l) the Pension Benefit Guaranty Corporation; and (m) any party

that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of

the nature of the relief requested, no other or further notice is required.

                                          CONCLUSION

       WHEREFORE, based upon the foregoing, the Debtors respectfully request that the Court

(a) enter an order following the Bidding Procedures Hearing, substantially in the form attached

hereto as Exhibit A, (i) approving the Bidding Procedures, and (ii) authorizing the Debtors to take

all actions reasonably necessary to effectuate such Bidding Procedures and the Sale; (b) enter the



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Sale Order following the Sale Hearing, approving the highest or best bid for the Assets and

granting the other relief requested in this Motion; and (c) grant such other and further relief as the

Court deems just and proper.

 Date: February 12, 2020                           Respectfully submitted,
       Atlanta, Georgia
                                                   KING & SPALDING LLP


                                                   /s/ Sarah R. Borders
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                                                   Georgia Bar No. 610649
                                                   Jeffrey R. Dutson
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                                                   Counsel for the Debtors in Possession




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                                  EXHIBIT A

                            Bidding Procedures Order
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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
In re:                               )    Chapter 11
                                     )
THE KRYSTAL COMPANY, et al., 1       )    Case No. 20-61065 (PWB)
                                     )
                                     )
          Debtors.                   )    (Jointly Administrated)
                                     )

    ORDER (I) APPROVING BIDDING PROCEDURES FOR THE SALE OF THE
 DEBTORS’ ASSETS, (II) SCHEDULING HEARINGS AND OBJECTION DEADLINES
  WITH RESPECT TO THE SALE, (III) SCHEDULING BID DEADLINES AND AN
AUCTION, (IV) APPROVING THE FORM AND MANNER OF NOTICE THEREOF, (V)
 APPROVING CONTRACT ASSUMPTION AND ASSIGNMENT PROCEDURES, AND
                     (VI) GRANTING RELATED RELIEF

       Upon consideration of the motion (the “Motion”) 2 of the above captioned debtors and

debtors in possession (the “Debtors”) for the entry of an order (this “Order”): (a) approving the

proposed bidding procedures attached as Exhibit 1 to this Order (the “Bidding Procedures”);

(b) scheduling an auction (the “Auction”); (c) approving the form and manner of notice thereof;

(d) scheduling dates and deadlines in connection with the sale (the “Sale”) of all or substantially

all of the Debtors’ assets (the “Assets”); (e) approving the form and manner of notice thereof;

(f) approving procedures for assuming and assigning the Debtors’ executory contracts and

unexpired leases (the “Assumption and Assignment Procedures”); and (g) granting related relief;

all as more fully set forth in the Motion; and upon the First Day Declaration; and this Court having

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.
2
    Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to
    them in the Motion or the Bidding Procedures, as applicable.
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jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having found that this is

a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter

a final order consistent with Article III of the United States Constitution; and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing, if any, before this Court (the “Bidding Procedures Hearing”); and this court having

determined that the legal and factual bases set forth in the Motion and at the Bidding Procedures

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this court; and after due deliberation and sufficient cause appearing therefor, THAT THE

COURT FINDS THAT:

        A.     The findings of fact and conclusions of law herein constitute the court’s findings of

fact and conclusions of law for the purposes of Bankruptcy Rule 7052, made applicable pursuant

to Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law, they are

adopted as such. To the extent any conclusions of law are findings of fact, they are adopted as

such.

        B.     This court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

Venue in this court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.



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       C.      The statutory bases for the relief requested in the Motion are sections 105, 363 and

365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, and 6006.

       D.      Notice of the Motion, the Bidding Procedures Hearing, and the proposed entry of

this Order was adequate and sufficient under the circumstances of these chapter 11 cases, and such

notice complied with all applicable requirements of the Bankruptcy Code, the Bankruptcy Rules,

the Complex Case Procedures, and the Bankruptcy Local Rules for the Northern District of

Georgia. Notice of the Motion has been given to: (a) the Office of the United States Trustee for

the Northern District of Georgia; (b) the Debtors’ thirty (30) largest unsecured creditors; (c) the

Committee; (d) counsel to the First Lien Prepetition Agent; (e) all parties who have expressed a

written interest in some or all of the Debtors’ Assets; (f) all parties who are known or reasonably

believed, after reasonable inquiry, to have asserted any lien, encumbrance, claim or other interest

in the Debtors’ Assets; (g) the Internal Revenue Service; (h) the Georgia Department of Revenue;

(i) the Attorney General for the State of Georgia; (j) the United States Attorney for the Northern

District of Georgia; (k) the state attorneys general for states in which the Debtors conduct business;

(l) the Pension Benefit Guaranty Corporation; and (m) any party that has requested notice pursuant

to Bankruptcy Rule 2002.

       E.      The Debtors have articulated good and sufficient reasons for this Court to:

(a) approve the Bidding Procedures; (b) schedule the Bid Deadline, the Auction, the Sale Objection

Deadline, and the Sale Hearing; (c) approve the form of the Sale Notice attached hereto as

Exhibit 2; (d) approve the Assumption and Assignment Procedures and the form and manner of

notice of the Cure Notice attached hereto as Exhibit 3; and (e) grant related relief.



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        F.      The Bidding Procedures are reasonable and appropriate and represent the best

available method for maximizing value for the benefit of the Debtors’ estates. The Bidding

Procedures balance the Debtors’ interests in emerging expeditiously from the chapter 11 cases

while preserving the opportunity to attract value-maximizing proposals beneficial to the Debtors’

estates, their creditors, and other parties in interest.

        G.      The Sale Notice is appropriate and reasonably calculated to provide all interested

parties with timely and proper notice of the Auction.

        H.      The Cure Notice is appropriate and reasonably calculated to provide all interested

parties with timely and proper notice of the Assumption and Assignment Procedures.

IT IS HEREBY ORDERED THAT:

        1.      The Motion is granted as provided herein.

        2.      All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled as announced to the court at the Bidding Procedures Hearing or by stipulation

filed with the Court, are overruled.

I.      Important Dates and Deadlines.

        3.      The following dates and deadlines are hereby approved (and may be amended from

time to time by the Debtors in consultation with the Consultation Parties (as defined in the Bidding

Procedures) by filing an appropriate notice on the Court’s docket and posting such notice on the

Case Website).

        4.      Unless extended by the Debtors, in consultation with the Consultation Parties and

with consent of the DIP Agent and First Lien Prepetition Agent, the deadline by which all bids for



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the Assets must be actually received by the parties specified in the Bidding Procedures is May 4,

2020 at 5:00 p.m. (prevailing Eastern Time).

       5.      The date and time of the Auction, if needed, is May 7, 2020 at 10:00 a.m.

(prevailing Eastern Time), which time may be extended by the Debtors, in consultation with the

other Consultation Parties, upon written notice filed with the Court, to be held at the offices of

King & Spalding LLP, 1180 Peachtree Street, Atlanta, GA 30309. The Debtors shall send written

notice of the date, time, and place of the Auction to Qualifying Bidders no later than two

(2) business days before such Auction, and shall post notice of the same no later than two

(2) business days before such Auction on the Case Website.

       6.      The deadline to object to approval of the Sale (the “Sale Objection Deadline”) is

set for May 12, 2020 at 5:00 p.m. (prevailing Eastern Time).

       7.      The hearing to consider approval of the Sale (the “Sale Hearing”) will take place

on May 14, 2020 at 10:00 a.m. (prevailing Eastern Time).

       8.      Notwithstanding the foregoing, the Court’s approval of the foregoing schedule is

without prejudice to all parties’ rights to object to the approval of any sale contemplated under this

Order at the Sale Hearing on any grounds.

II.    The Bidding Procedures.

       9.      The Bidding Procedures are hereby approved in their entirety, and the Bidding

Procedures shall govern the submission, receipt, and analysis of all bids relating to the proposed

sale of the Assets. Any party desiring to bid for all or substantially all of the Assets shall comply

with the Bidding Procedures and this Order. The Debtors are authorized to take any and all actions

necessary to implement the Bidding Procedures.

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       10.     Each bidder participating at the Auction shall be required to confirm that it has not

engaged in any collusion with respect to the bidding or the sale, as set forth in the Bidding

Procedures.

       11.     The Debtors are deemed to have complied with all contractual rights of first

refusals, or similar contractual purchasing rights, regarding the Assets. The Bidding Procedures

and the notice thereof provide all parties in interest with notice of, and the opportunity to

participate in, any potential Sale and/or Auction.

III.   Notice Procedures.

       12.     The form of Sale Notice attached hereto as Exhibit 2 is approved.

       13.     No later than three (3) business days after entry of the Bidding Procedures Order

(the “Mailing Date”), the Debtors shall serve the Bidding Procedures Order and Bidding

Procedures by first-class mail or courier service upon: (a) the Office of the United States Trustee

for the Northern District of Georgia; (b) the Debtors’ thirty (30) largest unsecured creditors; (c)

counsel to the First Lien Prepetition Agent; (d) all parties who have expressed a written interest in

some or all of the Debtors’ assets; (e) all parties who are known or reasonably believed, after

reasonable inquiry, to have asserted any lien, encumbrance, claim or other interest in the Debtors’

assets; (f) the Internal Revenue Service; (g) the Georgia Department of Revenue; (h) the Attorney

General for the State of Georgia; (i) the United States Attorney for the Northern District of

Georgia; (j) the state attorneys general for states in which the Debtors conduct business; (k) the

Pension Benefit Guaranty Corporation; and (l) any party that has requested notice pursuant to

Bankruptcy Rule 2002.



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IV.    The Assumption and Assignment Procedures.

       14.    The Assumption and Assignment Procedures set forth in the Motion regarding the

assumption and assignment of the Assigned Contracts proposed to be assumed by the Debtors and

assigned to the Successful Bidder are approved.

              1.      Cure Notice. On the Mailing Date, or as soon as practicable thereafter,
                      subject to consultation with the Consultation Parties, the Debtors shall file
                      with the Court and serve via first class mail, electronic mail, or overnight
                      delivery, the Cure Notice, which shall contain the KCC Instructions and
                      the Necessary Notice Information, on all Contract Counterparties and all
                      parties that have requested notice pursuant to Bankruptcy Rule 2002, and
                      post the Cure Notice to the Case Website. Service as set forth herein shall
                      be deemed proper, due, timely, good, and sufficient notice and no other or
                      further notice is necessary.

              2.      Content of Cure Notice. The Cure Notice shall notify the applicable
                      Contract Counterparties that the Assigned Contracts may be subject to
                      assumption and assignment in connection with a proposed sale transaction,
                      and contain the following information: (i) a list of the Assigned Contracts;
                      (ii) the applicable Contract Counterparties; (iii) the Debtors’ good faith
                      estimates of the Cure Costs; and (iv) the deadline by which any Contract
                      Counterparty to an Assigned Contract may file an objection to the proposed
                      assumption, assignment, cure, and/or adequate assurance and the
                      procedures relating thereto; provided that service of a Cure Notice does not
                      constitute an admission that such Assigned Contract is an executory
                      contract or unexpired lease or that such Assigned Contract will be assumed
                      at any point by the Debtors or assumed and assigned pursuant to any
                      Successful Bid.

              3.      Objections. Objections, if any, to a Cure Notice must: (i) be in writing;
                      (ii) comply with the applicable provisions of the Bankruptcy Rules, the
                      Complex Case Procedures, the Bankruptcy Local Rules for the Northern
                      District of Georgia, and any order governing the administration of these
                      chapter 11 cases; (iii) state with specificity the nature of the objection and,
                      if the objection pertains to the proposed Cure Costs, state the cure amount
                      alleged to be owed to the objecting Contract Counterparty, together with
                      any applicable and appropriate documentation in support thereof; and
                      (iv) be filed with the Court and served so as to be actually received by
                      counsel to the Debtors prior to April 20, 2020 at 5:00 p.m. (prevailing
                      Eastern Time); provided that the Debtors, subject to consultation with the

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                    Consultation Parties, may modify the Cure Objection Deadline by filing a
                    notice of such modification on the Court’s docket.

            4.      Dispute Resolution. Any objection to the proposed assumption and
                    assignment of an Assigned Contract, or Cure Costs, that remain unresolved
                    as of the Sale Hearing, shall be heard at the Sale Hearing (or at such later
                    date as may be fixed by the Court). Upon entry of an order by the Court
                    resolving such Assigned Contract Objection, the assignment, if approved
                    by the Court, shall be deemed effective as of the closing date of the sale
                    transactions. To the extent that any Assigned Contract Objection cannot
                    be resolved by the parties, such Assigned Contract shall be assumed and
                    assigned only upon satisfactory resolution of the Assigned Contract
                    Objection, to be determined in any Stalking Horse Bidder’s or other
                    Successful Bidder’s reasonable discretion. To the extent an Assigned
                    Contract Objection remains unresolved, the Assigned Contract may be
                    conditionally assumed and assigned, subject to the consent of the Stalking
                    Horse Bidder or other Successful Bidder, pending a resolution of the
                    Assigned Contract Objection after notice and a hearing. If an Assigned
                    Contract Objection is not satisfactorily resolved, any Stalking Horse
                    Bidder or other Successful Bidder may determine that such Assigned
                    Contract should be rejected and not assigned, in which case any Stalking
                    Horse Bidder or other Successful Bidder will not be responsible for any
                    Cure Costs in respect of such contract.

            5.      Supplemental Cure Notice. The Debtors reserve the right, with the
                    consent of the Successful Bidder and subject to consultation with the
                    Consultation Parties, at any time after the Assumption and Assignment
                    Service Date, to: (i) supplement the Assigned Contract Schedule attached
                    to the Cure Notice with previously omitted Assigned Contracts in
                    accordance with the definitive agreement for a Sale; (ii) remove any
                    Assigned Contracts from the list of executory contracts and unexpired
                    leases ultimately selected as Assigned Contracts that the Successful Bidder
                    proposes be assumed and assigned to it in connection with a Sale or add to
                    such list; and/or (iii) modify the previously stated Cure Cost associated
                    with any Assigned Contracts (a “Supplemental Assigned Contracts
                    Schedule”). In the event that the Debtors exercise any of the rights reserved
                    above, the Debtors will promptly provide the Consultation Parties with
                    notice and an opportunity to object to any such actions, and thereafter will
                    serve a Supplemental Cure Notice by electronic transmission, hand
                    delivery, or overnight mail on the applicable Contract Counterparty, and
                    its counsel, if known, to each impacted Assigned Contract at the last known
                    address available to the Debtors. Each Supplemental Cure Notice will
                    include the same information with respect to listed Assigned Contracts as
                    was included in the Cure Notice. Any Assigned Contract Counterparty
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                       listed on a Supplemental Cure Notice may file a Supplemental Assigned
                       Contract Objection only if such objection is to the proposed assumption
                       and assignment of the applicable Assigned Contract or the proposed Cure
                       Costs, if any. All Supplemental Assigned Contract Objections must:
                       (x) state with specificity the legal and factual basis thereof as well as what
                       Cure Costs the objecting party believes are required, if any; (y) include
                       appropriate documentation in support of the objection; and (z) be filed and
                       served on the Objection Recipients no later than 5:00 p.m. (prevailing
                       Eastern Time) on the date that is the later of (i) the Sale Objection Deadline
                       and (ii) fourteen days from the date of service of such Supplemental Cure
                       Notice, which date will be set forth in the Supplemental Cure Notice (the
                       “Supplemental Assigned Contract Objection Deadline”).

               6.      Supplemental Hearing. If a Contract Counterparty files a Supplemental
                       Assigned Contract Objection in a manner that is consistent with the
                       requirements set forth above, and the parties are unable to consensually
                       resolve the dispute, the Debtors will seek a Supplemental Assigned
                       Contract Hearing to determine the Cure Costs, if any, and approve the
                       assumption of the relevant Assigned Contracts. If there is no such
                       objection, then the Debtors will obtain entry of an order, including by filing
                       a certification of no objection, fixing the Cure Costs and approving the
                       assumption of any Assigned Contract listed on a Supplemental Cure
                       Notice.

       15.     If a Contract Counterparty does not file and serve an Assigned Contract Objection

or Supplemental Assigned Contract Objection in a manner that is consistent with the requirements

set forth above, and absent a subsequent order of the Court establishing an alternative Cure Cost,

(a) the Cure Costs, if any, set forth in the Cure Notice (or Supplemental Cure Notice) shall be

controlling, notwithstanding anything to the contrary in any Assigned Contract or any other

document, and (b) the Contract Counterparty will be deemed to have consented to the assumption

and assignment of the Assigned Contract and the Cure Costs, if any, and will be forever barred

from objecting to the assumption and assignment of such Assigned Contract and rights thereunder,

including the Cure Costs, if any, and from asserting any other claims related to such Assigned

Contract against the Debtors or the Successful Bidder, or the property of any of them.

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       16.     Any objections to the Successful Bidder’s proposed form of adequate assurance of

future performance must be filed no later than the later of the Sale Objection Deadline or

Supplemental Assigned Contract Objection Deadline, as applicable, and such objections will be

resolved at the Sale Hearing or Supplemental Assigned Contract Hearing, as applicable. The

Debtors may adjourn the resolution of any such objection to a later hearing.

       17.     The inclusion of an Assigned Contract on the Assigned Contract Schedule,

Supplemental Assigned Contract Schedule, and/or in a Supplemental Cure Notice will not:

(a) obligate the Debtors to assume any Assigned Contract listed thereon or obligate the Successful

Bidder to take assignment of such Assigned Contract; or (b) constitute any admission or agreement

of the Debtors that such Assigned Contract is an executory contract or unexpired lease. Only those

Assigned Contracts that are included on a schedule of assumed and assigned contracts attached to

the definitive sale agreement with the Successful Bidder (including amendments or modifications

to such schedules in accordance with such agreement and any designation rights procedures

approved int eh Sale Order) will be assumed and assigned to the Successful Bidder.

V.     Miscellaneous.

       18.     The failure to include or reference a particular provision of the Bidding Procedures

specifically in this Order shall not diminish or impair the effectiveness or enforceability of such

provision.

       19.     In the event of any inconsistency between this Order and the Motion and/or the

Bidding Procedures, this Order shall govern in all respects.

       20.     The Debtors, subject to the terms of this Order and the Bidding Procedures, are

authorized to take all actions necessary to effectuate the relief granted pursuant to this Order.

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       21.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a), the Bankruptcy Local Rules for

the Northern District of Georgia and the Complex Case Procedures are satisfied by such notice.

       22.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       23.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



                                        END OF ORDER




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Prepared and presented by:

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                                  EXHIBIT 1

                               Bidding Procedures
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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
In re:                               )    Chapter 11
                                     )
THE KRYSTAL COMPANY, et al., 1       )    Case No. 20-61065 (PWB)
                                     )
                                     )
          Debtors.                   )    (Jointly Administered)
                                     )

                                   BIDDING PROCEDURES

       Set forth below are the bidding procedures (the “Bidding Procedures”) that will be
employed in connection with a sale (the “Sale”) of substantially all of the assets (the “Assets”) of
the above-captioned debtors and debtors in possession (the “Debtors”).

        On January 19, 2020, the Debtors filed voluntary petitions for relief under chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”). The Debtors are operating their
businesses and managing their properties as debtors in possession pursuant to sections 1107(a)
and 1108 of the Bankruptcy Code.

        On March [*], 2020, the United States Bankruptcy Court for the Northern District of
Georgia (the “Court”) entered an order [Docket No. *] (the “Bidding Procedures Order”), which,
among other things, authorized the Debtors to solicit bids and approved Bidding Procedures to
be employed by the Debtors in connection with the sale of all or substantially all of the Debtors’
assets, free and clear of all liens, claims, encumbrances, and other interests, to a potential
stalking horse purchaser (a “Stalking Horse Purchaser”) or, absent a Stalking Horse Purchaser or
in the event the Stalking Horse Purchaser is not the Successful Bidder, then to the Successful
Bidder (as defined below), pursuant to a purchase agreement with such Successful Bidder.

    ANY PARTY INTERESTED IN BIDDING ON THE ASSETS SHOULD
CONTACT:

                                    PIPER SANDLER & CO.
                             2321 ROSECRANS AVENUE, SUITE 3200
                                    EL SEGUNDO, CA 90245
                                 ATTENTION: TERI STRATTON
                              E-MAIL: TERISTRATTON@PSC.COM


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.



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                         Summary of Important Dates and Deadlines

                      Date                                             Deadline
                                                   Potential Assumption and Assignment Notice
March 31, 2020
                                                   Deadline
                                                   Selection of Stalking Horse Bidder, if
April 1, 2020
                                                   applicable
                                                   Hearing to approve Stalking Horse Bidder, if
[April 7, 2010]
                                                   applicable
April 20, 2020 at 4:00 p.m. (ET)                   Cure Cost/Assignment Objection Deadline

[May 4, 2020 at 5:00 p.m. (ET)]                    Bid Deadline

[May 7, 2020 at 10:00 a.m. (ET)]                   Auction
                                                   Deadline to Serve Notice of Successful Bidder
[May 8, 2020]                                      and Successful Bidder’s Adequate Assurance
                                                   Information
[May 12, 2020]                                     Sale Objection Deadline

[May 14, 2020]                                     Sale Hearing

No later than May 29, 2020                         Closing Date

       1.       Assets to be Sold

        The Sale shall be on an “as is, where is” basis and without representations or warranties
of any kind, nature or description by the Debtors, their agents or estates or any other party,
except to the extent set forth in the Purchase Agreement between the Debtors and the Successful
Bidder. Except as otherwise provided in the Successful Bidder’s Purchase Agreement (as
defined below), all of the Debtors’ right, title and interest in and to the Assets shall be sold free
and clear of all liens, claims, interests, and encumbrances (collectively, the “Encumbrances”)
pursuant to section 363(f) of the Bankruptcy Code, such Encumbrances to attach to the proceeds
of the sale of the Assets, with the same validity and priority as existed immediately prior to such
sale.

       The available Assets are fully described in the data room maintained by the Debtors’
investment banking advisors, which is accessible on the terms described herein.
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       2.      Participation Requirements

        Any person or entity that wishes to participate in the bidding process for the Assets (each,
a “Potential Bidder”) must first become a “Qualifying Bidder”. To become a Qualifying Bidder
(and thus being able to conduct due diligence and gain access to the Debtors’ confidential
electronic data room concerning the Assets (the “Data Room”)), a Potential Bidder must submit
to the Debtors and their advisors:

   (a) documentation identifying the interested party, its principals, and the representatives
       thereof who are authorized to appear and act on their behalf for all purposes regarding the
       contemplated transaction;

   (b) an executed confidentiality agreement in form and substance reasonably satisfactory to
       the Debtors, which by its terms will inure to the benefit of the Successful Bidder;

   (c) a statement and other factual support demonstrating to the Debtors’ reasonable
       satisfaction that the interested party has a bona fide interest in consummating a sale
       transaction; and

   (d) sufficient information to allow the Debtors to determine that the Potential Bidder (i) has,
       or can obtain, the financial wherewithal and any required internal corporate, legal or
       other authorizations to close a sale transaction, including, but not limited to, current
       audited financial statements of the interested party (or such other form of financial
       disclosure acceptable to the Debtors) and (ii) can provide adequate assurance of future
       performance under any executory contracts and unexpired leases to be assumed by the
       Debtors and assigned to such bidder, pursuant to section 365 of the Bankruptcy Code, in
       connection with the Sale.

       Each Potential Bidder shall comply with all reasonable requests for information by the
Debtors, or their advisors regarding the ability of such Potential Bidder, as applicable, to
consummate its contemplated transaction. The Debtors shall provide regular updates to the
Consultation Parties (as defined below) on the Potential Bidders and shall specifically identify to
the Consultation Parties any Potential Bidder who submitted the foregoing items (a) to (d) and
was not qualified as a Qualifying Bidder and the Debtors’ basis for such determination.

        Notwithstanding anything to the contrary herein, and for the avoidance of doubt, for all
purposes under the Bidding Procedures: any designated Stalking Horse Purchaser shall be
considered a Qualifying Bidder. In addition, the administrative agent under any postpetition
credit facility (the “DIP Agent”) and the Administrative Agent under the Debtors’ pre-petition
senior secured credit facility (the “First Lien Prepetition Agent”) shall also be considered
Qualifying Bidders.



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       3.      Bankruptcy Court Jurisdiction

        Any Potential Bidders and Qualifying Bidders shall: (a) be deemed to have waived any
right to a jury trial in connection with, and consented and submitted to the exclusive jurisdiction
of the Court over, any actions or proceedings arising from or relating the Bidding Procedures, the
Sale, the Auction (as defined below) and the construction and enforcement of the contemplated
transaction documents of such parties, (b) bring any such action or proceeding in the Court, and
(c) be deemed to have consented to the Court entering a final judgment determining any such
action or proceeding and that such final judgment in any such action or proceeding, including all
appeals, shall be conclusive and may be enforced in other jurisdictions (including any foreign
jurisdictions) by suit on the judgment or in any other manner provided by applicable law.

       4.      Due Diligence

        The Debtors will provide any Qualifying Bidder with reasonable access to the Data
Room and any other additional information that the Debtors believe to be reasonable and
appropriate under the circumstances. The Debtors will provide, in the Data Room, a form of
asset purchase agreement for the Sale of Assets (the “Form APA”). All additional due diligence
requests shall be directed to:

                                     PIPER SANDLER & CO.
                              2321 ROSECRANS AVENUE, SUITE 3200
                                     EL SEGUNDO, CA 90245
                                  ATTENTION: TERI STRATTON
                               E-MAIL: TERISTRATTON@PSC.COM

        The due diligence period shall extend through and including the Bid Deadline (as defined
below). The Debtors may, but shall not be obligated to, in their sole discretion, furnish any due
diligence information after the Bid Deadline.

        The Debtors reserve the right, in their reasonable discretion, to withhold or limit access to
any due diligence information that the Debtors determine is business-sensitive or otherwise not
appropriate for disclosure to a Qualifying Bidder; provided that the Debtors shall notify the
Consultation Parties of any decision to withhold such information. Notwithstanding any
prepetition limitations, including, without limitation, any non-disclosure, confidentiality or
similar provisions relating to any due diligence information, the Debtors and their estates shall be
authorized to provide due diligence information to Qualifying Bidders provided that such
Qualifying Bidders have delivered an executed confidentiality agreement in form and substance
acceptable to the Debtors. The Debtors and their estates are not responsible for, and shall have
no liability with respect to, any information obtained by, or provided to, any Qualifying Bidders
in connection with the Bidding Procedures and the Sale.



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   5. Stalking Horse Purchaser

        The Debtors shall endeavor to identify a Stalking Horse Purchaser and shall have the
ability to select a Stalking Horse Purchaser, after consultation with the Consultation Parties,
upon any terms and conditions they deem beneficial to the sale process. The Debtors shall have
no obligation to select a Stalking Horse Purchaser if, in their business judgment, it will be
detrimental to the sale process.

        Pursuant to the Bidding Procedures Order, the Debtors, after consultation with the
Consultation Parties, are authorized to enter into a Purchase Agreement with a Stalking Horse
Purchaser (a “Stalking Horse Agreement”). In the event that the Debtors enter into a Stalking
Horse Agreement, the Debtors will file with the Court and upload to the Data Room, a notice
that includes the following: (a) the identification of the Stalking Horse Purchaser; (b) a copy of
the Stalking Horse Agreement; (c) the purchase price provided for in the Stalking Horse
Agreement (the “Stalking Horse Purchase Price”); (d) the amount of the deposit paid by the
Stalking Horse Purchaser; and (e) the amount of any Break-Up Fee or any Expense
Reimbursement (each, as defined in the Bidding Procedures Order) and seek expedited approval
of the Stalking Horse Agreement and any Break-Up Fee or Expense Reimbursement provided
for therein. Nothing herein or in the Bidding Procedures Order authorizes the Debtors to pay,
any Break-Up Fee or Expense Reimbursement, and approval of, and authorization for the
Debtors to pay, any such Break-Up Fee and Expense Reimbursement, shall be subject to further
order of the Court.

   6. Bid Requirements

       To be deemed a “Qualifying Bid,” a bid must be received from a Qualifying Bidder on or
before the Bid Deadline and satisfy each of the following requirements, as determined by the
Debtors in consultation with the Consultation Parties (each, a “Bid Requirement”):

   a. be in writing;

   b. fully disclose the identity of the Qualifying Bidder (and any other party participating in
      the bid) and provide the contact information of the specific person(s) whom the Debtors
      or their advisors should contact in the event that the Debtors have any questions or wish
      to discuss the bid submitted by the Qualifying Bidder;

   c. set forth the purchase price to be paid by such Qualifying Bidder;

   d. not propose payment in any form other than cash (except as otherwise expressly set forth
      in these Bidding Procedures); provided, however, that the DIP Agent and the First Lien
      Pre-Petition Agent shall be entitled to credit bid any portion of their outstanding secured
      obligations pursuant to section 363(k) of the Bankruptcy Code with respect to any assets
      on which they hold liens;

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   e. be accompanied by a clean, executed copy of a purchase agreement (the “Purchase
      Agreement”) and a redline of the Purchase Agreement marked to reflect any proposed
      amendments and modifications to the Form APA or Stalking Horse Agreement, to the
      extent a Stalking Horse Purchaser is designated, and the applicable schedules and
      exhibits;

   f. state that such Qualifying Bidder’s offer is formal, binding and unconditional and is
      irrevocable until two (2) business days after the closing of the Sale;

   g. state that such Qualifying Bidder is financially capable of consummating the transactions
      contemplated by the bid and provide written evidence in support thereof;

   h. contain such financial and other information to allow the Debtors to make a reasonable
      determination as to the Qualifying Bidder’s financial and other capabilities to close the
      transactions contemplated by the proposal, including, without limitation, such financial
      and other information supporting the Qualifying Bidder’s ability to comply with the
      requirements of adequate assurance of future performance under section 365(f)(2)(B)
      and, if applicable, section 365(b)(3) of the Bankruptcy Code, including the Qualifying
      Bidder’s financial wherewithal and willingness to perform under any contracts and leases
      that are assumed and assigned to the Qualifying Bidder, in a form that allows the Debtors
      to serve, within one (1) business day after such receipt, such information on any
      counterparties to any contracts or leases being assumed and assigned in connection with
      the Sale that have requested, in writing, such information;

   i. a commitment to close the transaction contemplated by the proposal by no later than May
      29, 2020;

   j. not request or entitle such Qualifying Bidder to any break-up fee, termination fee,
      expense reimbursement or similar type of fee or payment (unless the Qualifying Bidder is
      a Stalking Horse Purchaser);

   k. in the event that there is a Stalking Horse Purchaser, the aggregate consideration
      proposed by the Qualifying Bidder must equal or exceed the sum of the amount of (A)
      any Stalking Horse Purchase Price, (B) any break-up fee approved by the Court, (C) any
      Expense Reimbursement approved by the Court, and (D) $250,000;

   l. not contain any contingencies of any kind, including, without limitation, contingencies
      related to financing, internal approval or due diligence;

   m. contain a written acknowledgement and representation that the Qualifying Bidder (i) has
      had an opportunity to conduct any and all due diligence regarding the Assets, (ii) has
      relied solely upon its own independent review, investigation and/or inspection of any
      documents and other information in making its Qualifying Bid, and (iii) did not rely upon
      any written or oral statements, representations, promises, warranties or guaranties
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       whatsoever, whether express, implied, by operation of law or otherwise, regarding the
       Assets, or the completeness of any documents or other information provided in
       connection with the Bidding Procedures and the Sale;

   n. provides for the Qualifying Bidder to serve as a backup bidder (the “Back- Up Bidder”) if
      the Qualifying Bidder’s bid is the next highest or best bid (the “Back-Up Bid”) after the
      Successful Bid;

   o. includes written evidence of authorization and approval from the Qualifying Bidder’s
      board of directors (or comparable governing body) with respect to the submission,
      execution, and delivery of the subject purchase agreement; and

   p. provides a good faith cash deposit (the “Deposit”) in an amount equal to the greater of
      $1,000,000 and ten percent (10%) of the purchase price provided for in the proposal (or
      such additional amount as may be determined by the Debtors in their reasonable
      discretion and in consultation with the Consultation Parties) to be deposited, prior to the
      Bid Deadline, with an escrow agent selected by the Debtors (the “Escrow Agent”)
      pursuant to the escrow agreement to be provided by the Debtors to the Qualifying
      Bidders (the “Escrow Agreement”).

         The Debtors reserve the right, in consultation with the Consultation Parties, to negotiate
with any Qualifying Bidder in advance of the Auction to cure any deficiencies in a bid that is not
initially deemed a Qualifying Bid.

       Each Qualifying Bidder submitting a bid shall be deemed to: (a) acknowledge and
represent that it is bound by all of the terms and conditions of the Bidding Procedures and (b)
have waived the right to pursue a substantial contribution claim under section 503 of the
Bankruptcy Code related in any way to the submission of its bid, the Bidding Procedures, and the
Sale.

   7. Bid Deadline

         A Qualifying Bidder, other than any Stalking Horse Purchaser, the DIP Agent and the
First Lien Prepetition Agent that desires to make a bid shall deliver a written and electronic copy
of its bid in both PDF and MS-WORD format to the Notice Parties and Consultation Parties so
as to be received on or before [May 4, 2020] at 5:00 p.m. (ET) (the “Bid Deadline”); provided
that the Debtors, after consulting with the Consultation Parties and with the consent of the DIP
Agent (if any) and the First Lien Prepetition Agent, may extend the Bid Deadline without further
order of the Court. To the extent that the Bid Deadline is extended for all parties, the Debtors
shall file a notice on the docket of these chapter 11 cases indicating the same. If the DIP Agent
and/or the First Lien Prepetition Agent intends to credit bid at the Auction, they shall provide the
Debtors with a “Notice of Intention to Credit Bid” by 5:00 p.m. on the Business Day prior to
commencement of the Auction, which notice shall include a marked copy of an asset purchase
agreement reflecting any changes from the Purchase Agreement of the opening bid at the
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Auction or, if there no opening bid, the Form APA (provided that such Agent will have the same
rights as any other Qualifying Bidder hereunder to amend such terms during the Auction). If the
DIP Agent and/or the First Lien Prepetition Agent shall submit a Notice of Intention to Credit
Bid, the DIP Agent and First Lien Prepetition Agent shall thereafter cease to be a Consultation
Party hereunder. Other than as set forth herein, any party that does not submit a bid by the
Bid Deadline will not be allowed to (a) submit any offer after the Bid Deadline, or (b)
participate in the Auction.

   8. Evaluation of Qualifying Bids

       The Debtors will deliver, promptly upon receipt thereof, copies of all bids from
Qualifying Bidders to each of the Consultation Parties. The Debtors, in consultation with the
Consultation Parties, shall make a determination regarding whether a timely submitted bid from
a Qualifying Bidder is a Qualifying Bid, and shall notify all Qualifying Bidders whether their
bids have been determined to be a Qualifying Bid by no later than two (2) days prior to the
Auction Date. In the event that a bid is determined not to be a Qualifying Bid, the Qualifying
Bidder shall be notified by the Debtors and, in the Debtors’ discretion, provided with an
opportunity to modify its bid to increase the purchase price or otherwise improve the terms of the
Qualifying Bid for the Debtors; provided that any Qualifying Bid may be improved at the
Auction as set forth herein.

       One (1) day prior to the Auction Date, the Debtors shall determine, in consultation with
the Consultation Parties, which of the Qualifying Bids, at such time, is the highest or best bid for
purposes of constituting the opening bid of the Auction (the “Baseline Bid” and the Qualifying
Bidder submitting the Baseline Bid, the “Baseline Bidder”), and shall promptly notify any
Stalking Horse Purchaser and all Qualifying Bidders with Qualifying Bids of the Baseline Bid.

   9. No Qualifying Bids

        If there is a Stalking Horse Purchaser Qualifying Bid, but no timely Qualifying Bids
other than any Stalking Horse Purchaser’s Qualifying Bid and no Notice of Intention to Credit
Bid are submitted on or before the Bid Deadline, the Debtors shall not hold an Auction and shall
request at the Sale Hearing that the Stalking Horse Purchaser be deemed the “Successful Bidder”
and that the Court approve the Stalking Horse Agreement and the transactions contemplated
thereunder.

   10. Auction

        If the Debtors timely receive one or more Qualifying Bids other than any Stalking Horse
Purchaser’s Qualifying Bid or a Notice of Intention to Credit Bid, then the Debtors shall conduct
an auction (the “Auction”), which shall take place at 10:00 a.m. prevailing Eastern Time on
[May 7, 2020], at the office of King & Spalding, LLP, 1180 Peachtree Street NE, Atlanta,
Georgia 30309, or such other date, time and location as shall be timely communicated to all
entities entitled to attend the Auction.
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        Following the Auction, the Debtors will determine, in consultation with the Consultation
Parties, which Qualifying Bid is the highest or best bid for the Assets, which will be determined
by considering, among other things, the following non-binding factors: (a) the terms of the
Purchase Agreement and any Stalking Horse Agreement requested by each bidder; (b) the extent
to which such terms are likely to delay closing of the Sale and the cost to the Debtors and their
estates of such modifications or delay; (c) the total consideration to be received by the Debtors
and their estates; (d) the transaction structure and execution risk, including conditions to, timing
of and certainty of closing, termination provisions, availability of financing and financial
wherewithal to meet all commitments, and required governmental or other approval; (e) the net
benefit to the Debtors’ estates, taking into account any Break-Up Fee and any Expense
Reimbursement provided for in any applicable Stalking Horse Agreement; (f) the impact on
employees, trade creditors and landlords; and (g) any other factors the Debtor may reasonably
deem relevant.

       The Auction, which shall be recorded and transcribed, shall run in accordance with the
following procedures:

       (a)     only the Stalking Horse Purchaser, the other Qualifying Bidders with Qualifying
               Bids (collectively, the “Auction Bidders”), the Debtors, the Consultation Parties,
               and the advisors to each of the foregoing shall be permitted to attend the Auction
               in person;

       (b)     only the Auction Bidders will be entitled to make subsequent bids at the Auction;

       (c)     the Auction Bidders shall confirm that they have not engaged in any collusion
               with respect to the Bidding Procedures, the Auction or the Sale;

       (d)     the Debtors and their professional advisors shall direct and preside over the
               Auction;

       (e)     bidding shall commence at the amount of the Baseline Bid, and the Auction
               Bidders may submit successive bids in increments of at least $250,000, provided
               that: (i) each such successive bid must be a Qualifying Bid; (ii) any Stalking
               Horse Purchaser shall receive a credit, when bidding, in the amount of any Break-
               Up Fee and any Expense Reimbursement; and (iii) the Debtors, in consultation
               with the Consultation Parties, shall retain the right to modify the bid increment
               requirements at the Auction;

       (f)     the Auction may include individual negotiations with any of the Auction Bidders,
               but all bids shall be made on the record and in the presence of all of the Auction
               Bidders;


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      (g)   all material terms of the bid that is deemed to be the highest or best bid for each
            round of bidding shall be fully disclosed to the Auction Bidders, and the Debtors
            shall use reasonable efforts to clarify any and all questions that the Auction
            Bidders may have regarding the Debtors’ announcement of the then-current
            highest or best bid;

      (h)   the Debtors and their professional advisors, in consultation with the Consultation
            Parties, may employ and announce at the Auction additional procedural rules that
            are reasonable under the circumstances (e.g., the amount of time allotted to make
            subsequent bids) for conducting the Auction, provided that such rules are (i) not
            inconsistent with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, or
            any applicable order of the Court entered in connection with these chapter 11
            cases, including, without limitation, the Bidding Procedures Order, and (ii)
            disclosed to the Auction Bidders;

      (i)   each Auction Bidder shall (i) be deemed to have waived any right to a jury trial in
            connection with, and consented and submitted to the exclusive jurisdiction of the
            Court over, any actions or proceedings arising from or relating the Bidding
            Procedures, the Sale, the Auction and the construction and enforcement of the
            contemplated transaction documents of the Auction Bidders, (ii) bring any such
            action or proceeding in the Court, and (iii) be deemed to have consented to the
            Court entering a final judgment determining any such action or proceeding and
            that such final judgment in any such action or proceeding, including all appeals,
            shall be conclusive and may be enforced in other jurisdictions (including any
            foreign jurisdictions) by suit on the judgment or in any other manner provided by
            applicable law;

      (j)   Auction Bidders shall have the right to make additional modifications to their
            respective Purchase Agreements or any Stalking Horse Agreement, as applicable,
            in conjunction with each Qualifying Bid submitted in each round of bidding
            during the Auction, provided that (i) any such modifications on an aggregate basis
            and viewed in whole, shall not, in the Debtors’ discretion, in consultation with the
            Consultation Parties, be less favorable to the Debtors and their estates than the
            terms of the Auction Bidders’ respective Purchase Agreements or any Stalking
            Horse Agreement, as applicable, and (ii) each Qualifying Bid shall constitute an
            irrevocable offer and shall be binding on the Auction Bidder submitting such bid
            until such party shall have submitted a subsequent Qualifying Bid at the Auction
            or the conclusion of the Sale Hearing, whichever occurs sooner, unless such bid is
            selected as the Successful Bid or the Back-Up Bid, which shall remain binding as
            provided for herein;

      (k)   the Debtors and the Consultation Parties shall have the right to request any
            additional financial information that will allow the Debtors and the Consultation
            Parties to make a reasonable determination as to an Auction Bidder’s financial
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              and other capabilities to consummate the transactions contemplated by their
              proposal or any Stalking Horse Agreement, as applicable, as may be amended
              during the Auction, and any further information that the Debtors may believe is
              reasonably necessary to clarify and evaluate any bid made by an Auction Bidder
              during the Auction;

       (l)    upon the conclusion of the Auction, the Debtors shall determine, in consultation
              with the Consultation Parties, and subject to Court approval, the offer or offers for
              the Assets that is the highest or best from among the Qualifying Bids submitted at
              the Auction, which may be a Stalking Horse Agreement (the “Successful Bid”). In
              making this decision, the Debtors shall consider, in consultation with the
              Consultation Parties, the amount of the purchase price, the likelihood of the
              bidder’s ability to close a transaction and the timing thereof, the nature and impact
              of any variances from the form Purchase Agreement requested by each bidder,
              and the net benefit to the Debtors’ estates. The bidder submitting such Successful
              Bid, which may be the Stalking Horse Purchaser, shall become the “Successful
              Bidder,” and shall have such rights and responsibilities of the purchaser as set
              forth in the subject Purchase Agreement, as applicable. The Debtors may, in
              consultation with the Consultation Parties, designate Back-Up Bids (and the
              corresponding Back-Up Bidders) to purchase the Assets in the event that the
              Successful Bidder does not close the Sale; and

       (m)    upon the conclusion of the Auction, the Successful Bidder shall complete and
              execute all agreements, contracts, instruments and other documents evidencing
              and containing the terms and conditions upon which the Successful Bid was
              made.

     THE SUCCESSFUL BID AND ANY BACK-UP BIDS SHALL CONSTITUTE AN
IRREVOCABLE OFFER AND BE BINDING ON THE SUCCESSFUL BIDDER AND
THE BACK-UP BIDDER, RESPECTIVELY, FROM THE TIME THE BID IS
SUBMITTED UNTIL TWO (2) BUSINESS DAYS AFTER THE SALE HAS CLOSED.
EACH QUALIFYING BID THAT IS NOT THE SUCCESSFUL BID OR BACK-UP BID
SHALL BE DEEMED WITHDRAWN AND TERMINATED AT THE CONCLUSION OF
THE SALE HEARING.

   11. Sale Hearing

         The Successful Bid and any Back-Up Bid (or if no Qualifying Bid other than that of any
Stalking Horse Purchaser is received, then the Stalking Horse Agreement) will be subject to
approval by the Court. The Sale Hearing shall take place, subject to the Court’s availability, on
[May 14, 2020] at 10:00 a.m. (ET). The Sale Hearing may be adjourned by the Debtors from
time to time without further notice to creditors or other parties in interest other than by
announcement of the adjournment in open court on the date scheduled for the Sale Hearing or by
filing a hearing agenda or notice on the docket of the Debtors’ chapter 11 cases.
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        At the Sale Hearing, the Debtors will seek entry of an order that, among other things: (i)
authorizes and approves the Sale to the Successful Bidder, pursuant to the terms and conditions
set forth in the Stalking Horse Agreement or the Purchase Agreement executed by the Successful
Bidder, as applicable; and (ii) finding that the Stalking Horse Purchaser or Successful Bidder, as
applicable, is a good faith purchaser pursuant to section 363(m) of the Bankruptcy Code.

   12. Back-Up Bidder

       Notwithstanding any of the foregoing, in the event that the Successful Bidder fails to
close the Sale by May 29, 2020 (or such date as may be extended by the Debtors with the
agreement of the Back Up Bidder, DIP Agent (if any) and the First Lien Prepetition Agent), the
Back-Up Bid will be deemed to be the Successful Bid, the Back-Up Bidder will be deemed to be
the Successful Bidder, and the Debtors will be authorized, but not directed, to close the Sale to
the Back-Up Bidder subject to the terms of the Back-Up Bid without the need for further order of
the Court and without the need for further notice to any interested parties.

   13. Return of Deposits

        All Deposits shall be returned to each bidder not selected by the Debtors as the
Successful Bidder and the Back-up Bidder, no later than five (5) business days following the
closing of the Sale. The deposit of the Successful Bidder or, if the Sale is closed with the Back-
Up Bidder, the deposit of the Back-Up Bidder, shall be applied to the purchase price for the Sale.
If the Successful Bidder (or, if the Sale is to be closed with the Back-Up Bidder, then the Back-
Up Bidder) fails to consummate the Sale because of a breach or failure to perform on the part of
such bidder, then, subject to the terms of the Purchase Agreement or any Stalking Horse
Agreement, as applicable, the Debtors and their estates shall be entitled to retain the Deposit of
the Successful Bidder (or, if the Sale is to be closed with the Back-Up Bidder, then the Back-Up
Bidder) as part of the damages resulting to the Debtors and their estates for such breach or failure
to perform.

   14. Notice and Consultation Parties

       (a) The term “Notice Parties” as used in these Bidding Procedures shall mean: (i) the
           Debtors       (Attn:    Jonathan    Tibus,    Chief     Restructuring   Officer;
           jtibus@alvarezandmarsal.com); (ii) lead counsel to the Debtors, King & Spalding
           LLP (Attn: Sarah R. Borders; sborders@kslaw.com); and (iii) investment banking
           advisor to the Debtors, Piper Sandler & Co. (Attn: Teri Stratton
           teri.stratton@psc.com).

       (b) The term “Consultation Parties” as used in these Bidding Procedures shall mean: (i)
           counsel to the First Lien Prepetition Agent, Morgan, Lewis & Bockius LLP (Attn:
           Sula R. Fiszman, and Jennifer Feldsher; sula.fiszman@morganlewis.com,
           jennifer.feldsher@morganlewis.com); (ii) if applicable, counsel to the official
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           committee of unsecured creditors appointed in the Debtors’ chapter 11 cases (the
           “Creditors’ Committee”); and (iii) counsel for the DIP Agent, if any.

       For the avoidance of doubt, any consultation rights provided to the Consultation Parties
by these Bidding Procedures shall not limit the Debtors’ discretion in any way and shall not
include the right to veto any decision made by the Debtors in the exercise of their business
judgment.

        In the event that any Consultation Party or any member of the Creditors’ Committee or
an affiliate of any of the foregoing submits a bid that is a Qualifying Bid, any obligation of the
Debtors to consult with the bidding party established under these Bidding Procedures will be
waived, discharged and released without further action; provided that the bidding party will have
the same rights as any other Qualifying Bidder set forth above. If a member of the Creditors’
Committee submits a Qualifying Bid, the Creditors’ Committee will continue to have
consultation rights as set forth in these Bidding Procedures; provided that the Creditors’
Committee shall exclude such member from any discussions or deliberations regarding the sale
of the Assets and shall not provide any information regarding the sale of the Assets to such
member.

   15. Reservation of Rights

        Notwithstanding any of the foregoing, the Debtors and their estates reserve the right to,
after consultation with the Consultation Parties, modify these Bidding Procedures at or prior to
the Auction, including, without limitation, to allow for bidding on only a portion of the Assets
and not all of them, modify bidding increments, waive terms and conditions set forth herein with
respect to any or all potential bidders (including, without limitation, the Bid Requirements),
impose additional terms and conditions with respect to any or all Potential Bidders, adjourn or
cancel the Auction at or prior to the Auction, and adjourn the Sale Hearing; provided, however,
that any changes to the dates and deadlines set forth herein shall comply with any milestones
contained in any order for the use of cash collateral or DIP financing entered by the Bankruptcy
Court in these cases or (ii) be made with the consent of the DIP Agent and First Lien Prepetition
Agent.




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                                   Exhibit 2

                                  Sale Notice
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                               )      Chapter 11
                                                     )
THE KRYSTAL COMPANY, et al., 1                       )      Case No. 20-61065 (PWB)
                                                     )
                                                     )
               Debtors.                              )      (Jointly Administrated)
                                                     )


         NOTICE OF AUCTION FOR THE SALE OF THE DEBTORS’ ASSETS


        PLEASE TAKE NOTICE that on ________, 2020, the United States Bankruptcy Court
for the Northern District of Georgia (the “Bankruptcy Court”) entered the Order (I) Approving
Bidding Procedures for the Sale of the Debtors’ Assets, (II) Scheduling Hearings and Objection
Deadlines with Respect to the Sale, (III) Scheduling Bid Deadlines and an Auction, (IV) Approving
the Form and Manner of Notice Thereof, (V) Approving Contract Assumption and Assignment
Procedures, and (VI) Granting Related Relief [Docket No. __] (the “Bidding Procedures Order”), 2
authorizing the above-captioned debtors and debtors in possession (collectively, the “Debtors”) to
conduct an auction (the “Auction”) to select the party or parties to purchase the Debtors’ assets.
The Auction will be governed by the bidding procedures approved pursuant to the Bidding
Procedures Order (attached to the Bidding Procedures Order as Exhibit 1, the “Bidding
Procedures”).

Copies of the Bidding Procedures Order or other documents related thereto are available
upon request to Kurtzman Carson Consultants by calling (888) 249-2792 (U.S./Canada) or
(310) 751-2607 (International) or visiting the Debtors’ Case Website at
http://www.kccllc.net/krystal.




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
    them in the Bidding Procedures Order or the Bidding Procedures, as applicable.
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       PLEASE TAKE FURTHER NOTICE that the Bid Deadline is May 4, 2020 at 5:00
p.m. (prevailing Eastern Time), and that any person or entity who wishes to participate in the
Auction must comply with the participation requirements, bid requirements, and other
requirements set forth in the Bidding Procedures.

       PLEASE TAKE FURTHER NOTICE that the Debtors intend to conduct the Auction, at
which they will consider proposals submitted to the Debtors and their professionals, by and
pursuant to the Bidding Procedures as set forth in the Bidding Procedures Order, on May 7, 2020
at 10:00 a.m. (prevailing Eastern Time) at the offices of counsel to the Debtors, King & Spalding
LLP, 1180 Peachtree Street, Atlanta, GA 30309.

       PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to modify the
Bidding Procedures, in their reasonable business judgment in accordance with the Bidding
Procedures.

        PLEASE TAKE FURTHER NOTICE that on May 14, 2020 at 10:00 a.m. (prevailing
Eastern Time) or as soon thereafter as the Debtors may be heard, shall be the date and time for
the hearing at which the Bankruptcy Court will consider approval of the Sale (the “Sale Hearing”).

        PLEASE TAKE FURTHER NOTICE that the deadline to object to approval of the Sale
(the “Sale Objection Deadline”) is set for May 12, 2020 at 5:00 p.m. (prevailing Eastern
Time). 3 Any objection must: (i) be in writing; (ii) comply with the applicable provisions of the
Bankruptcy Rules, the Complex Case Procedures, the Bankruptcy Local Rules for the Northern
District of Georgia, and any order governing the administration of these chapter 11 cases; (iii) state
with specificity the nature of the objection; and (iv) be filed with the Bankruptcy Court and served
on counsel to the Debtors so as to be actually received by the no later than the Sale Objection
Deadline.

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3
    Parties may object to the Sale based on the identity of the Successful Bidder (if other than the
    Stalking Horse Bidder) at any time prior to the commencement of the Sale Hearing.


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 Date: ____________, 2020               KING & SPALDING LLP
       Atlanta, Georgia

                                        /s/
                                        Sarah R. Borders
                                        Georgia Bar No. 610649
                                        Jeffrey R. Dutson
                                        Georgia Bar No. 637106
                                        Leia Clement Shermohammed
                                        Georgia Bar No. 972711
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                                        Counsel for the Debtors in Possession
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                                  EXHIBIT 3

                                  Cure Notice
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                               )      Chapter 11
                                                     )
THE KRYSTAL COMPANY, et al., 1                       )      Case No. 20-61065 (PWB)
                                                     )
                                                     )
               Debtors.                              )      (Jointly Administered)
                                                     )

                NOTICE TO CONTRACT PARTIES TO POTENTIALLY
            ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                 YOU ARE RECEIVING THIS NOTICE BECAUSE YOU
             OR ONE OF YOUR AFFILIATES IS A COUNTERPARTY TO AN
         EXECUTORY CONTRACT OR UNEXPIRED LEASE WITH ONE OR MORE
         OF THE DEBTORS AS SET FORTH ON EXHIBIT A ATTACHED HERETO.

        PLEASE TAKE NOTICE that on __________, 2020, the United States Bankruptcy
Court for the Northern District of Georgia (the “Court”) entered the Order (I) Approving Bidding
Procedures for the Sale of the Debtors’ Assets, (II) Scheduling Hearings and Objection Deadlines
with Respect to the Sale, (III) Scheduling Bid Deadlines and an Auction, (IV) Approving the Form
and Manner of Notice Thereof, (V) Approving Contract Assumption and Assignment Procedures,
and (VI) Granting Related Relief [Docket No. __] (the “Bidding Procedures Order”), 2 authorizing
the Debtors to conduct an auction (the “Auction”) to select the party to purchase the Debtors’
assets. The Auction will be governed by the bidding procedures approved pursuant to the Bidding
Procedures Order (attached to the Bidding Procedures Order as Exhibit 1, the “Bidding
Procedures”).

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures, the
Debtors may assume and assign to the Successful Bidder certain of the Assigned Contracts listed
on the Assigned Contracts Schedule, attached hereto as Exhibit A, to which you are a
counterparty, upon approval of the Sale. The Assigned Contracts Schedule can also be viewed on
the Debtors’ Case Website (http://www.kccllc.net/krystal). The Debtors have conducted a review

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
    them in the Bidding Procedures Order or the Bidding Procedures, as applicable.
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of their books and records and have determined that the cure amount for unpaid monetary
obligations under such Assigned Contracts is as set forth on Exhibit A attached hereto (the “Cure
Costs”).

        PLEASE TAKE FURTHER NOTICE that if you disagree with the proposed Cure Costs,
object to a proposed assignment to the Successful Bidder of any Assigned Contract, or object to
the ability of the Successful Bidder to provide adequate assurance of future performance with
respect to any Assigned Contract, your objection must: (i) be in writing; (ii) comply with the
applicable provisions of the Bankruptcy Rules, the Complex Case Procedures, the Bankruptcy
Local Rules for the Northern District of Georgia, and any order governing the administration of
these chapter 11 cases; (iii) state with specificity the nature of the objection and, if the objection
pertains to the proposed Cure Costs, state the cure amount alleged to be owed to the objecting
Contract Counterparty, together with any applicable and appropriate documentation in support
thereof; and (iv) be filed with the Bankruptcy Court and served so as to be actually received by
counsel to the Debtors prior to April 20, 2020 at 5:00 p.m. (prevailing Eastern Time) (the “Cure
Objection Deadline”).

        PLEASE TAKE FURTHER NOTICE that if no objection to (a) the Cure Costs(s),
(b) the proposed assignment and assumption of any Assigned Contract, or (c) adequate assurance
of the Successful Bidder’s ability to perform is filed by the Cure Objection Deadline, then (i) you
will be deemed to have stipulated that the Cure Costs as determined by the Debtors are correct,
(ii) you will be forever barred, estopped, and enjoined from asserting any additional cure amount
under the proposed assigned Contract, and (iii) you will be forever barred, estopped, and enjoined
from objecting to such proposed assignment to the Successful Bidder on the grounds that the
Successful Bidder has not provided adequate assurance of future performance as of the closing
date of the Sale.

       PLEASE TAKE FURTHER NOTICE that any objection to the proposed assumption
and assignment of an Assigned Contract or related Cure Costs in connection with the Successful
Bid that otherwise complies with these procedures yet remains unresolved as of the
commencement of the Sale Hearing, shall be heard at a later date as may be fixed by the
Bankruptcy Court.

        PLEASE THAT FURTHER NOTICE that, notwithstanding anything herein, the mere
listing of any Assigned Contract on the Cure Notice does not require or guarantee that such
Assigned Contract will be assumed by the Debtors at any time or assumed and assigned, and all
rights of the Debtors and the Successful Bidder with respect to such executory contracts and/or
unexpired leases are reserved. Moreover, the Debtors explicitly reserve their rights, in their
reasonable discretion, to seek to reject or assume each Assigned Contract pursuant to section
365(a) of the Bankruptcy Code and in accordance with the procedures allowing the Debtors and/or
the Successful Bidder, as applicable, to designate any Assigned Contract as either rejected or
assumed on a post-closing basis.




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        PLEASE TAKE FURTHER NOTICE that, nothing herein (i) alters in any way the
prepetition nature of the Assigned Contracts or the validity, priority, or amount of any claims of a
counterparty to any Assigned Contract against the Debtors that may arise under such Assigned
Contract, (ii) creates a postpetition contract or agreement, or (iii) elevates to administrative
expense priority any claims of a counterparty to any Assigned Contract against the Debtors that
may arise under such Assigned Contract.

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                                                 3
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 Date: ____________, 2020               KING & SPALDING LLP
       Atlanta, Georgia

                                        /s/
                                        Sarah R. Borders
                                        Georgia Bar No. 610649
                                        Jeffrey R. Dutson
                                        Georgia Bar No. 637106
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                                        Counsel for the Debtors in Possession
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                         EXHIBIT A TO CURE NOTICE

         SCHEDULE OF CURE COSTS AND TRANSFERRED CONTRACTS
